915 F.2d 1563Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Danny W. BARNES, Plaintiff-Appellant,v.Gary W. WATERS, Portsmouth Sheriff Szabo, Defendants-Appellees.
    No. 90-6259.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 20, 1990.Decided Oct. 16, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-89-292-R)
      Danny W. Barnes, appellant pro se.
      Gary A. Bryant, Wilcox &amp; Savage, Norfolk, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Danny W. Barnes appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Barnes v. Waters, CA-89-292-R (E.D.Va. Dec. 19, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    